4:12-cr-03059-JMG-CRZ     Doc # 210   Filed: 11/21/12   Page 1 of 4 - Page ID # 945




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:12-CR-3059

vs.
                                                PRELIMINARY ORDER OF
TEO VAN PHAN and KIM NGUYEN,                         FORFEITURE

                  Defendants.

       This matter is before the Court upon the plaintiff's Motion for Issuance
of Preliminary Order of Forfeiture (filing 208) with respect to defendants Teo
Van Phan and Kim Nguyen. The indictment in this case (filing 1) charged the
defendants with, among other things, mail fraud. The indictment contained a
forfeiture allegation seeking the forfeiture, pursuant to 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c), of any property, real or personal, which
constitutes or is derived from proceeds obtained directly or indirectly as a
result of the offense of mail fraud, including but not limited to:

      All "contraband cigarettes" addressed and delivered to 2742 Holdrege,
      Apt. 2, Lincoln, Nebraska, between September 20, 2011, and May 22,
      2012;

      341 packs of "contraband cigarettes" located and seized from 2742
      Holdrege, Apt. 2, Lincoln, Nebraska, on April 24, 2012;

      All "contraband cigarettes" addressed and delivered to 3940 N. 20th St.,
      Lincoln, Nebraska, between September 20, 2011, and May 22, 2012;

      441 packs of "contraband cigarettes" located and seized from 3940 N.
      20th St., Lincoln, Nebraska, on April 24, 2012;

      $4,400.00 in U.S. currency located and seized from 3940 N. 20th St.,
      Lincoln, Nebraska, on April 24, 2012;

      All "contraband cigarettes" addressed and delivered to 4140 N. 20th St.,
      Lincoln, Nebraska, between September 20, 2011, and May 22, 2012;
4:12-cr-03059-JMG-CRZ         Doc # 210      Filed: 11/21/12     Page 2 of 4 - Page ID # 946




         1 pack of "contraband cigarettes" located and seized from 4140 N. 20th
         St., Lincoln, Nebraska, on April 24, 2012;

         All "contraband cigarettes" addressed and delivered to 663 S. 19th St.,
         Apt. B2, Lincoln, Nebraska, between September 20, 2011, and May 22,
         2012;

         7 cartons of "contraband cigarettes" located and seized from 663 S. 19th
         St., Apt. B2, Lincoln, Nebraska, on April 24, 2012;

         All "contraband cigarettes" addressed and delivered to 1715 4th Corso,
         Apt. 2, Nebraska City, Nebraska, between September 20, 2011, and
         May 22, 2012;

         8 packs of "contraband cigarettes" located and seized from 1715 4th
         Corso, Apt. 2, Nebraska City, Nebraska, on April 24, 2012; and

         $1,649.00 in U.S. currency located and seized from 1715 4th Corso, Apt.
         2, Nebraska City, Nebraska, on April 24, 2012.

(Filing 1). The forfeiture allegation also sought the forfeiture of substitute
property pursuant to 21 U.S.C. § 853(p) and 28 U.S.C. § 2461(c).
      Each defendant pled guilty to, among other things, a count of mail
fraud, and admitted the forfeiture allegation. (Filings 79 and 101). And the
Court imposed forfeiture of the property at sentencing for each defendant. 1
(Filings 189 and 206). The plaintiff is therefore entitled to possession of the
property, pursuant to 21 U.S.C. § 853 and 28 U.S.C. 2461(c). The plaintiff's
motion for preliminary order of forfeiture is granted.

         IT IS ORDERED:

    1.    The plaintiff's Motion for Issuance of Preliminary Order of Forfeiture
          (filing 208) is granted.

    2.    Based upon the defendants' guilty pleas and admission of the
          forfeiture allegation of the indictment, the plaintiff is authorized to
          seize the property described above.

1 The Court notes that no motion for preliminary order of forfeiture was filed before
sentencing, and that a "final" order of forfeiture was referred to at sentencing. The Court
finds, however, that the error in failing to enter a preliminary order of forfeiture before
sentencing was clerical, and that a preliminary order of forfeiture is still appropriate at this
stage. See U.S. v. Christensen, 2012 WL 5354745 (D. Neb. Oct. 29, 2012).


                                             -2-
4:12-cr-03059-JMG-CRZ   Doc # 210    Filed: 11/21/12   Page 3 of 4 - Page ID # 947




3.    The interests of defendants Teo Van Phan and Kim Nguyen in the
      property are forfeited to the plaintiff for disposition in accordance with
      the law, subject to the provisions of 21 U.S.C. § 853(n)(1).

4.    The property is to be held by the plaintiff in its secure custody and
      control.

5.    Pursuant to 21 U.S.C. § 853(n)(1), the plaintiff shall publish for at
      least thirty consecutive days on an official Internet government
      forfeiture site (www.forfeiture.gov) notice of this order, notice of
      publication evidencing the plaintiff's intent to dispose of the property
      in such manner as the Attorney General may direct, and notice that
      any person, other than the defendants, having or claiming a legal
      interest in the property must file a petition with the Court within
      thirty days of the final publication of notice or of receipt of actual
      notice, whichever is earlier.

6.    Such published notice shall state that the petition referred to in
      paragraph 5, above, shall be for a hearing to adjudicate the validity of
      the petitioner=s alleged interest in the property, shall be signed by the
      petitioner under penalty of perjury, and shall set forth the nature and
      extent of the petitioner's right, title, or interest in the property and
      any additional facts supporting the petitioner=s claim and relief
      sought.

7.    The plaintiff may also, to the extent practicable, provide direct written
      notice to any person known to have alleged an interest in the property
      as a substitute for published notice as to those persons so notified.

8.    Upon adjudication of all third-party interests, this Court will enter a
      final order of forfeiture pursuant to 21 U.S.C. § 853(n), in which all
      interests will be addressed.




                                     -3-
4:12-cr-03059-JMG-CRZ   Doc # 210   Filed: 11/21/12   Page 4 of 4 - Page ID # 948




     Dated this 21st day of November, 2012.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




                                    -4-
